Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 1 of 51




                    Exhibit 2
        Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 2 of 51



                                                                    Page 1

1
2                      UNITED STATES DISTRICT COURT
3                      SOUTHERN DISTRICT OF NEW YORK
4
5        HERMÈS INTERNATIONAL and                )
         HERMÈS OF PARIS INC.,                   )
6                                                )
                             Plaintiffs,         )
7                                                )
                       vs.                       )      No.
8                                                )      1:22-CV-00384-JSR
         MASON ROTHSCHILD,                       )
9                                                )
                             Defendant.          )
10       -------------------------               )
11
12
13
14
15                                     September 23, 2022
16                                     9:32 a.m.
17
18                     Deposition of BLAKE GOPNIK, held at the
19             offices of Baker & Hostetler LLP, 45
20             Rockefeller Plaza, New York, New York,
21             pursuant to subpoena, before Laurie A.
22             Collins, a Registered Professional Reporter
23             and Notary Public of the State of New York.
24
25

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        Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 3 of 51



                                                                    Page 2

1
2       A P P E A R A N C E S (NOTE ZOOM PARTICIPANTS):
3
4               BAKER & HOSTETLER LLP
5               Attorneys for Plaintiffs
6                       45 Rockefeller Plaza
7                       New York, New York 10111
8               BY:     GERALD J. FERGUSON, ESQ.
9                           gferguson@bakerlaw.com
10                      FRANCESCA ROGO, ESQ.
11                          frogo@bakerlaw.com
12
13              LEX LUMINA PLLC
14              Attorneys for Defendant
15                      745 Fifth Avenue, Suite 500
16                      New York, New York 10151
17              BY:     CHRISTOPHER J. SPRIGMAN, ESQ.
18                          chris@lex-lumina.com
19                      RHETT O. MILLSAPS, II, ESQ.
20                      (via videoconference)
21                          rhett@lex-lumina.com
22
23
24
25

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                                                                    Page 3

1
2       A P P E A R A N C E S (continued):
3
4       ALSO PRESENT:
5               VALENTINE FADIE, ESQ. (Hermès)
6                        (via videoconference)
7               ZEF COTA, Videographer
8
9
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        Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 5 of 51



                                                                     Page 4

1

2                    THE VIDEOGRAPHER:        Good morning.     We

3             are going on the record at 9:32 a.m. eastern

4             daylight time on September 23rd, 2022.

5                    Please note that the microphones are              09:31:55

6             sensitive and may pick up whispering and

7             private conversations.

8                    Please mute your phones at this time.

9                    Audio and video recording will continue

10            to take place unless all parties agree to go

11            off the record.

12                   This is media unit 1 of the video-

13            recorded of Blake Gopnik taken for counsel --

14            taken for plaintiff in the matter of Hermès

15            International and Hermès of Paris, Inc.,                 09:32:23

16            versus Mason Rothschild, filed in the United

17            States District Court for the Southern

18            District of New York, Case Number

19            1:22-CV-00384-JSR.      The location of the

20            deposition is 45 Rockefeller Plaza, New York,            09:32:46

21            New York.

22                   My name is Zef Cota, representing

23            Veritext, and I am the videographer.            The

24            court reporter is Laurie Collins from the firm

25            Veritext.                                                09:33:01

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        Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 6 of 51



                                                                    Page 5

1                               Proceedings

2                     I am not authorized to administered an

3             oath.     I am not related to any party in this

4             action, nor am I financially interested in the

5             outcome.                                                 09:33:09

6                     If there are any objections to

7             proceeding, please state them at the time of

8             your appearance.      Counsel and all present

9             including remotely will now state their

10            appearances and affiliations for the record,             09:33:20

11            beginning with the noticing attorney.

12                    MR. FERGUSON:     Gerald Ferguson,

13            attorney for plaintiffs, with Baker Hostetler.

14            I'm joined by Francesca Rogo of Baker

15            Hostetler.     And also participating remotely is 09:33:34

16            Valentine Fadie of Hermès International in

17            their legal department.

18                    MR. SPRIGMAN:     My name is Christopher

19            John Sprigman.     I'm with the firm of Lex

20            Lumina.     I'm here on behalf of the defendant,         09:33:47

21            Mason Rothschild.       Participating with me on

22            line I believe is also Rhett Millsaps, also of

23            Lex Lumina.

24                    THE VIDEOGRAPHER:       Thank you.    Will the

25            court reporter please swear in the witness,              09:33:57

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        Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 7 of 51



                                                                    Page 6

1                                 Gopnik

2             and then counsel may proceed.

3       B L A K E     G O P N I K ,

4             called as a witness, having been duly sworn

5             by the notary public, was examined and

6             testified as follows:

7       EXAMINATION BY

8       MR. FERGUSON:

9             Q.     Good morning.      Can you please state

10      your full name for the record?                                 09:34:13

11            A.     Blake Gopnik.

12            Q.     Dr. Gopnik, have you been deposed

13      before?

14            A.     No.

15            Q.     Have you ever testified in court                  09:34:23

16      before?

17            A.     No.

18            Q.     Do you have an understanding of what's

19      going to be taking place at this deposition today?

20            A.     I believe I do.                                   09:34:33

21            Q.     And is that understanding based on

22      information provided to you in conversation with

23      the counsel representing you today?

24            A.     Yes.

25            Q.     I'm just going to review a few ground             09:34:44

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        Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 8 of 51



                                                                   Page 94

1                                 Gopnik

2       contemporary art, art of the twentieth century.

3             Q.     Are you referring to art critics?

4             A.     I'm referring to art critics, some art

5       critics, some art historians, some artists.                    12:06:17

6       There's a very large range within those categories

7       of people who are absolutely ignorant and people

8       who know a great deal.

9             Q.     Would it be fair to say that this --

10      the statement in the first sentence of your first              12:06:46

11      paragraph is obvious to people who agree with you?

12                   MR. SPRIGMAN:      Objection,

13            argumentative.

14            A.     No.    There are people who disagree with

15      me for whom it would also be obvious.                          12:06:59

16            Q.     Are you saying that the statement in

17      the first sentence of your first paragraph

18      wouldn't be obvious to art critics who are

19      ignorant?

20                   MR. SPRIGMAN:      Objection.                     12:07:16

21            A.     Yes.

22            Q.     As a layman is there any way for me to

23      determine which art critics are ignorant and which

24      ones aren't?

25                   MR. SPRIGMAN:      Objection.                     12:07:30

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        Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 9 of 51



                                                                   Page 95

1                                 Gopnik

2             A.     Not for a layman, just as I wouldn't be

3       able to tell a knowledgeable sports reporter from

4       one who isn't knowledgeable.

5             Q.     Are there any objective criteria that             12:07:53

6       can be used to distinguish a knowledgeable art

7       critic from an ignorant art critic?

8             A.     I think if you looked at the course of

9       their career and saw if they were -- held

10      interesting, complex views about art, you'd say,               12:08:08

11      yes, this person is interesting and this other

12      person uses clichés, et cetera, and therefore is

13      not interesting.

14                   (Discussion off the record.)

15            Q.     Are you aware of any consensus among              12:08:57

16      art critics that the images in NFTs produced and

17      sold by Mason Rothschild find their natural and

18      obvious home among the artistic experience carried

19      out by modern artists over the last century?

20            A.     There is no consensus among art critics           12:09:15

21      on pretty much any issue.        For instance, I find

22      the Mona Lisa a fairly trivial object, and most

23      art critics would disagree with me.

24            Q.     Referring to page 5, paragraph 11.          The

25      first sentence begins, By the end of the 1960s,                12:10:02

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 10 of 51



                                                                        Page 96

1                                 Gopnik

2       Andy Warhol had filled New York galleries with any

3       number of projects that were clearly art.

4                    Why were these projects clearly art?

5                    MR. SPRIGMAN:      Objection, misstates               12:10:27

6             this point only in part.

7                    But go ahead.

8             A.     Within the context of that moment,

9       there are expectations about what art might be in

10      that, you know, from let's say 1966, shall we say.                 12:10:38

11      There were expectations of what you'd see in an

12      art gallery, and they fulfilled some of those

13      expectations.

14            Q.     You used the passive voice there,

15      "there were expectations."         Whose expectations are          12:10:56

16      you referring to?

17            A.     The expectations of the art world at

18      that moment.

19            Q.     And what was the art world at that

20      moment?                                                            12:11:07

21                   MR. SPRIGMAN:      Objection.

22            A.     That's a very hard question to answer.

23      I'm not sure I know the scope of it.                Well, at

24      that moment I'm referring specifically to a

25      sophisticated audience within New York.                That's      12:11:19

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 11 of 51



                                                                    Page 97

1                                  Gopnik

2       the only people he was speaking to at that moment.

3       So it would be people who went to galleries,

4       talked about art, bought art, wrote about art.              He

5       would have been unknown to many other communities.               12:11:37

6             Q.     Referring to paragraph 38 on page 17,

7       referring to the sentence towards the bottom of

8       the paragraph which states --

9             A.     38, it was?

10            Q.     38, yeah, 38, page 17.           And the            12:12:40

11      sentence a little bit -- the second-to-last

12      sentence where it states, It is almost impossible

13      to imagine that Hermès would have chosen to create

14      similarly fur-covered purses or uterus bags as

15      Rothschild's earlier Baby Birkin project, whether                12:13:03

16      in reality or as NFTs in the coming metaverse.

17                   When you state "it is almost impossible

18      to imagine," who are you referring to there?

19            A.     I think anyone who's familiar with the

20      Hermès brand.                                                    12:13:23

21            Q.     You describe fur -- the fur on

22      MetaBirkins as sheer absurdity.            What is absurd

23      about fur on a Birkin?

24                   MR. SPRIGMAN:      Objection.

25            A.     Birkins I would say in their classic                12:13:46

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 12 of 51



                                                                      Page 98

1                                 Gopnik

2       version are sleek objects, not objects -- I

3       believe that I've seen versions of the fur-covered

4       purses that, for instance, have camouflage on them

5       that are brightly colored that are my -- almost                  12:14:04

6       anyone's estimation tacky.         I think Hermès tries

7       to avoid tackiness.

8             Q.     Would it change your opinion as to the

9       sheer absurdity of fur on Birkins if Hermès has in

10      fact made fur-covered bags?                                      12:14:31

11                   MR. SPRIGMAN:      Objection.

12            A.     The specifics would be important, the

13      color of the fur, whether it covered the entire

14      bag or not, whether it looked as silly as Mason

15      Rothschild's fur-covered bags look.                              12:14:42

16            Q.     Let me show you two exhibits we have

17      marked as Exhibit 186 and 187.

18                   (Exhibit 186, examples of Birkin bags

19            with fur, marked for identification.)

20                   (Exhibit 187, examples of Birkin bags

21            with fur, marked for identification.)

22            A.     I was given 26 as well.           Did you want

23      me to have 26 as well?

24            Q.     Oh, I apologize.        No.

25                   (Pause.)                                            12:15:35

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 13 of 51



                                                                  Page 100

1                                   Gopnik

2       this question that these bags have been marketed

3       and sold by Hermès.        If their bags have been

4       marketed and sold by Hermès, is it absurd for

5       Birkin bags to have fur on them?                              12:17:08

6               A.       I'm sorry, I don't understand -- maybe

7       just because I'm not a lawyer -- what you mean by

8       "if."        They either were or they weren't, and I'm

9       not clear.        The answer is different depending

10      whether they were or weren't.                                 12:17:21

11              Q.       I'm asking you to assume they were.

12              A.       To assume --

13              Q.       As an expert witness, I can ask you to

14      make assumptions.        I can ask for hypothetical

15      questions.                                                    12:17:30

16                       MR. SPRIGMAN:    I'm going to raise an

17              objection.     Is there a time frame for the

18              marketing, since we're asking him to assume

19              something that is a fashion item and that goes

20              in and out of fashion?                                12:17:36

21                       MR. FERGUSON:    You can state your

22              objections.     I'm going to ask my question.

23                       MR. SPRIGMAN:    Okay.      Good.

24              A.       Why don't you read it to me again, just

25      so I'm very clear on it.                                      12:17:47

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 14 of 51



                                                                     Page 101

1                                 Gopnik

2                    (Record read.)

3             A.     It's a complicated question.           Yes, I

4       would say it is absurd for Birkin bags to have fur

5       on them.                                                         12:18:31

6             Q.     Does the opinion you just expressed

7       reflect a consensus of art critics?

8                    MR. SPRIGMAN:      Objection.

9             A.     There would be no consensus of art

10      critics around fur-covered Birkin bags.             My guess     12:18:41

11      is I'm the only art critic who's ever encountered

12      the question of fur-covered Birkin bags.

13            Q.     Your statement that fur on a MetaBirkin

14      is a sheer absurdity, does that reflect the

15      consensus of art critics?                                        12:19:04

16            A.     Again, they would be unlikely to have

17      encountered it as an issue in their art criticism.

18      I would imagine that it would -- that many of them

19      would form the same opinion as me.             I'm just of

20      course guessing at their opinions.                               12:19:19

21            Q.     You say that many -- you imagine that

22      many would form the same opinion as you.             Do you

23      also imagine that there are those who would not

24      form the same opinion as you?

25            A.     There always are art critics who form               12:19:35

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 15 of 51



                                                                 Page 102

1                                   Gopnik

2       different opinions from other art critics.

3             Q.      Are -- I'm sorry, I didn't let you

4       finish.

5             A.      I think I did.                                  12:19:44

6             Q.      Are those the critics that are

7       ignorant?

8                     MR. SPRIGMAN:       Objection.

9             A.      Some of them might be ignorant.         Some

10      of them might be very intelligent and also wrong.             12:19:52

11            Q.      Referring you now to page 17 of your

12      report.

13            A.      Hang on.     I've got so many documents.

14      Here we go.

15            Q.      I apologize, I have the wrong page.             12:20:42

16                    Referring to page 16, paragraph 36, the

17      first sentence.     I'm referring to the first

18      sentence, which states --

19            A.      I'm sorry, did you say 37 or 36?

20            Q.      36.                                             12:21:09

21            A.      36, sorry.

22            Q.      I'm referring to the first sentence,

23      which states, At its most basic, the title

24      MetaBirkins does what titles in art most commonly

25      do:   It indicates the subject of the artwork.                12:21:21

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 16 of 51



                                                                        Page 116

1                                   Gopnik

2             A.      I hope so.

3             Q.      Does that definition appear in any

4       texts that you consider authoritative?

5                     MR. SPRIGMAN:       Objection.                        01:18:58

6             A.      I have to admit it has never occurred

7       to me to look for a definition of art in an

8       authoritative text.        I've been studying art for 25

9       years, and I feel that I have enough experience to

10      understand it.     It is extremely difficult to                     01:19:10

11      understand, so everyone will have to arrive at a

12      definition that makes sense, because it's such a

13      thorny question.

14            Q.      Have you ever heard the expression "art

15      is in the eye of the beholder"?                                     01:19:24

16            A.      One of the sillier expressions I've

17      ever heard.

18            Q.      I think I know the answer to this

19      question.     Do you agree with that statement?

20            A.      That art is in the eyes of the                        01:19:36

21      beholder?

22            Q.      Art is in the eye of the beholder.

23            A.      I think it's a meaningless statement,

24      so I can't agree or disagree with it.                 I'm not

25      sure what it means.                                                 01:19:47

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 17 of 51



                                                                 Page 117

1                                 Gopnik

2              Q.    In your experience do different people

3       have different views of what they consider to be

4       art?

5                    MR. SPRIGMAN:      Objection.                    01:20:04

6              A.    Yes, absolutely.        In the general

7       community, that's certainly true.

8              Q.    Could you elaborate on what you meant

9       by "general community" in your last answer?

10             A.    I was just trying to clarify my answer,          01:20:20

11      that I can't speak for every single human being on

12      the planet, and I'm fairly certain that there is

13      nothing in the world that everyone agrees on.           And

14      one of the things that they might not agree about

15      are art.                                                      01:20:33

16             Q.    If two art critics disagree whether a

17      particular item is art, is there an agreed-upon

18      method in the art criticism profession for

19      resolving that dispute?

20             A.    No.    I think most sophisticated art            01:20:58

21      critics would think it was probably irresolvable.

22             Q.    Do you have a definition of business

23      art?

24             A.    Yes.

25             Q.    What is your definition of business              01:21:19

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 18 of 51



                                                                 Page 118

1                                 Gopnik

2       art?

3              A.    Business art is art that engages

4       directly and powerfully with -- for want of a

5       better word, with business, with commerce, with a             01:21:31

6       wide range of activities that on the face of it

7       normally might seem as being essentially about

8       finances and commodities but in fact when

9       introduced into the discourse of art seem to have

10      a richer set of resonances.          It's a way of using      01:21:46

11      art to look at the world of finance and business

12      by participating in it to a certain extent.

13                   I'm sorry, it's a long-winded answer.

14             Q.    Are there times when people participate

15      in the world of finance and business and they're              01:22:04

16      not engaging in business art?

17             A.    Yes.

18             Q.    How can you tell whether someone is

19      engaging in business art or not?

20             A.    Through a larger set of contextual               01:22:16

21      clues that tell you, oh, this might be worth

22      looking at as an artistic activity; for instance,

23      in the case of Andy Warhol, because he's generally

24      regarded as an artist and presents himself as an

25      artist.                                                       01:22:32

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 19 of 51



                                                                   Page 119

1                                 Gopnik

2             Q.     What are other contextual clues that

3       let you know that business or financial activity

4       is in fact business art?

5             A.     I'd put it the other way around.         There    01:22:51

6       are often cues that tell you that there's

7       something that reminds you of art in this activity

8       that might otherwise seem to be business.

9                    It goes both ways.         There are things

10      that seem at first glance to be art but then have              01:23:03

11      a business component and things that have a

12      business -- seem essentially business that then

13      have an artistic component.

14                   Either way you can be in the face

15      business art.                                                  01:23:17

16            Q.     Is the definition of business art that

17      you've provided generally accepted among art

18      critics?

19                   MR. SPRIGMAN:      Objection.

20            A.     My definition was so, I'm sorry, but              01:23:26

21      loosely phrase that'd it's hard to say if -- it's

22      not like defining the meaning of a word in one

23      sentence.    I think there'd be consensus that

24      there's a phenomenon where artists interact with

25      commerce and it's an important concept.                        01:23:45

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 20 of 51



                                                                      Page 120

1                                   Gopnik

2                        So, yes, in that sense people would

3       recognize that set of phenomenon, perhaps not a

4       particular wording in a particular one-sentence

5       definition.                                                       01:23:55

6               Q.       Are there any books or articles that

7       you're aware of that contain a definition of

8       business art that you agree with?

9               A.       It's not a normal practice in the world

10      of art to begin with a kind of definition like                    01:24:10

11      that.        There are certainly books about the

12      practice that go on at some length about the range

13      of practice.        There have been exhibitions and

14      books that are about this practice.

15                       It would be unusual for someone like me          01:24:24

16      to say, Now I'm going to give you a definition of

17      the thing about which I'm speaking.

18              Q.       Are there no books or articles that

19      you're aware of that contain a definition of

20      business art that you agree with?                                 01:24:41

21                       MR. SPRIGMAN:    Objection.

22              A.       I do not know of any that contain a

23      definition of business art because, as I say, that

24      would be unusual in the rhetorics of art

25      discourse.        That's just not what you do.        So it       01:24:54

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 21 of 51



                                                                 Page 121

1                                 Gopnik

2       would surprise me if there was someone who said, I

3       am now going to give you a definition of business

4       art.     That would seem lame within the context of

5       the -- the social context of art history.                     01:25:03

6                     I should say I'm excluding here the

7       things that I've written where I discuss business

8       art, which I tend to agree with.

9               Q.    Fair enough.

10                    Do you agree with the statement that            01:25:24

11      business art is the step that comes after art?

12              A.    No.

13              Q.    You don't agree with that statement?

14              A.    No.

15              Q.    Is that a statement that Andy Warhol            01:25:35

16      made?

17              A.    It is a statement attributed to Andy

18      Warhol.

19              Q.    Okay.

20                    And is it your understanding that he            01:25:45

21      didn't in fact make that statement?

22              A.    With Andy Warhol unfortunately it's

23      very hard to tell what he said and what he didn't,

24      because there's usually a -- his art was

25      collaborative in the extreme.           So there's often a    01:25:57

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 22 of 51



                                                                      Page 122

1                                      Gopnik

2       team of people working on any of his projects,

3       including his literary projects.              His texts are

4       often meant to mislead and to confuse as well.

5               Q.       Do you have a belief as to whether Andy          01:26:18

6       Warhol made the statement that business art is the

7       step that comes after art?

8               A.       It is present in texts that bear his

9       name.

10                       I'm sorry if I'm being difficult about           01:26:30

11      this.        But figuring out what Andy Warhol meant or

12      said is complicated.

13              Q.       Understood.

14                       Although you've spent as much time what

15      Andy Warhol meant or said as just about anyone out                01:26:43

16      there.

17              A.       That's why it takes so long, because

18      it's complicated.

19              Q.       And in your research have you drawn any

20      conclusions as to whether Andy Warhol made the                    01:26:51

21      statement that business art comes after art?

22              A.       My conclusions about that statement was

23      that it was actually component in his business art

24      practice.

25              Q.       And what do you mean that it's a                 01:27:11

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     212-267-6868                    www.veritext.com                    516-608-2400
       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 23 of 51



                                                                 Page 123

1                                 Gopnik

2       component in his business art practice?

3              A.     That is, Andy Warhol being a kind of a

4       trickster needed to pretend to be done with art in

5       order to become this new thing called a business              01:27:20

6       artist.     So by saying it's the step that comes

7       after art, he was saying that -- well, there's two

8       things he was saying.      One is that it's the latest

9       step in art, it comes after art because

10      traditional art was dead.        In other words, he was       01:27:36

11      saying this is a knew avant-garde practice.

12                    But he had to also present himself in

13      part as a businessperson, someone who was no

14      longer making art, in order for his business art

15      to have its maximum resonance and complexity, and             01:27:47

16      he did that reliably thereafter.

17             Q.     Is making money an example of business

18      art?

19             A.     Not in every case, no.

20             Q.     Can making money be an example of               01:28:15

21      business art?

22                    MR. SPRIGMAN:     Objection.

23             A.     Yes.

24             Q.     In what circumstances is making money

25      an example of business art?                                   01:28:22

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 24 of 51



                                                                 Page 124

1                                 Gopnik

2             A.      When it's incorporated into a practice

3       that where contextually you realize it has

4       resonance in -- when I was talking about the

5       definition of art, when it seems to have larger               01:28:35

6       resonance is something that can be discussed

7       outside of functional circles when it seems to

8       have a larger, I'm sorry to use the word, artistic

9       resonance, when there are clues that tell you

10      that's a useful way of considering it.                        01:28:48

11            Q.      What are the clues that tell you that

12      making money is business art?

13            A.      When it seems to -- with that

14      particular act of making money seems to be part of

15      a transition that's a business art transition;                01:29:06

16      when it gets extra resonance in relationship to

17      history of other practices that are like business

18      art that involve those same sense of issues; when

19      there are contextual clues that tell you, wait a

20      minute, maybe this isn't straightforward, maybe I             01:29:23

21      need to think of this as a meta practice rather

22      than someone simply trying to make money.

23            Q.      Are special training and qualifications

24      required to identify whether something is business

25      art or not?                                                   01:29:43

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 25 of 51



                                                                 Page 125

1                                 Gopnik

2             A.     Knowledge is required.

3             Q.     What is the knowledge that's required?

4             A.     You'd need to know something about the

5       history of art in general.         That's true of every       01:29:52

6       work of art.     To know if a painting is a work of

7       art or just a silly commodity, you will also need

8       to have background.      Many paintings are not works

9       of art.

10            Q.     What is the difference between a                 01:30:07

11      painting that is a work of art and one that's just

12      a silly commodity?

13            A.     A painting that is a work of art, as

14      per the definition I had, is something that

15      actually invites contemplation about the nature of            01:30:26

16      art, the nature of society, the nature of all

17      sorts of things.     But it invites successful

18      contemplation, invites and repays successful

19      contemplation.

20            Q.     Is working a form of business art?               01:30:54

21                   MR. SPRIGMAN:      Objection.

22            A.     In some cases it might be; in some

23      cases it might not be.       It's not true that all

24      work is business art.

25            Q.     And in what circumstances is working             01:31:08

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 26 of 51



                                                                 Page 127

1                                 Gopnik

2       his goal is in making this claim, but obviously

3       not all work is art.

4             Q.     Do you agree with his statement that

5       good business is the best start?                               01:32:54

6             A.     No, because I don't think that that is

7       in fact the gist of what he's actually doing, what

8       the work that sentence is doing.            This sentence is

9       a work of art and can only be understood in the

10      context of other works of art.           That's why I can't    01:33:12

11      either agree or disagree with it as a normal

12      statement that someone might make.

13            Q.     What context do you need to understand

14      that the sentence is a work of art?

15            A.     You need to understand the work of Andy           01:33:24

16      Warhol, the work of Marcel Duchamp, the work of

17      other artists working in what I call business art,

18      what is business art at this time in history.

19                   There's a set of contexts that make you

20      realize, oh, what Andy Warhol is doing here is not             01:33:37

21      a normal statement about the nature of the world,

22      and everyone knows that Andy -- everyone knew at

23      the time that Andy Warhol made statements that

24      didn't make normal kinds of sense, because Andy

25      Warhol is an artist.                                           01:33:49

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 27 of 51



                                                                 Page 128

1                                  Gopnik

2             Q.     Do you need specialized background and

3       training to understand that Andy Warhol is not

4       making a normal statement here?

5             A.     Yes.                                             01:34:20

6             Q.     And what's the background and training

7       you need?

8             A.     I don't know that you need any

9       training.    You need to understand a lot about art

10      and how art works.     And that's true to understand          01:34:27

11      any work of art.

12            Q.     Is creating a corporation business art?

13                   MR. SPRIGMAN:       Objection.

14            A.     It can be.

15            Q.     In what circumstances is creating a              01:34:53

16      corporation business art?

17            A.     If it is done in a context where

18      there's sufficient cues to let you know that in

19      fact a more interesting way of looking at it, a

20      forta [phonetic] way of looking at it, would be               01:35:07

21      from an artistic point of view rather than not.

22            Q.     Do you need specialized training or

23      education to recognize these cues that you just

24      referred to?

25            A.     Again, not training, but you need to             01:35:17

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 28 of 51



                                                                       Page 129

1                                 Gopnik

2       understand what art is and how it works.

3               Q.   How do you get this understanding of

4       what art is and how it works in order to see these

5       cues?                                                              01:35:29

6               A.   You look at a lot of art, you think

7       about a lot of art, you read about art, you

8       immerse yourself in the world, in this case, of

9       twentieth century art, in this case a particular

10      part of twentieth century art.           Again, that's true        01:35:40

11      of every piece of sculpture and painting of the

12      entire history of western art.

13              Q.   Can the public sale of works at an

14      auction be art?

15                   MR. SPRIGMAN:      Objection.                         01:36:02

16              A.   They can be.     They rarely are, but they

17      can be.

18              Q.   And in your report on page 13, you give

19      an example of an auction conducted by Damien

20      Hirst; is that correct?                                            01:36:19

21              A.   That is correct.

22              Q.   Referring to paragraph 28.             And that

23      art auction, the act of the auction was art?               Is

24      that what you're saying?

25              A.   Yes.                                                  01:36:34

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 29 of 51



                                                                 Page 130

1                                  Gopnik

2             Q.     Did you need specialized training or

3       experience to recognize that the act of that

4       auction was art?

5             A.     You do not need specialized training,            01:36:48

6       but you need general experience of the nature of

7       contemporary art and of twentieth century --

8             Q.     Do you need to immerse --

9                    MR. SPRIGMAN:       Wait a second.

10            Q.     I didn't read realize you hadn't                 01:37:00

11      finished.    I'll stop.

12                   Do you need to immerse yourself in the

13      world of contemporary art to recognized that

14      Damien Hirst's auction in September of 2008 was

15      business art?                                                 01:37:14

16            A.     Yes.

17            Q.     Do you know if there is a consensus

18      among art critics as to whether the activities we

19      just talked about -- creating a corporation,

20      public sale of works -- is there a consensus as to            01:37:43

21      whether those activities can be art?

22                   MR. SPRIGMAN:       Objection.

23            A.     Again, there's no consensus among art

24      historians about anything, including whether the

25      Mona Lisa is art, so there cannot be a consensus              01:38:00

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 30 of 51



                                                                 Page 131

1                                 Gopnik

2       on this either.

3             Q.       One last activity I wanted to ask you

4       about.      Can investing money in the stock market be

5       business art?                                                 01:38:11

6             A.       Yes, there are important cases of that

7       that have been documented.

8             Q.       In what circumstance was investing

9       money in the stock market business art?

10            A.       There was a work I believe in 1968 or          01:38:22

11      '69, several works, in fact, which were shown in

12      an exhibition, and I think one of the was shown at

13      the Whitney Museum of Art, that involved

14      specifically that activity.

15            Q.       As a nonspecialist looking at a                01:38:42

16      business activity, how do I determine whether

17      something is -- that activity is business or

18      business art?

19                     MR. SPRIGMAN:    Objection.

20            A.       You would have to look at -- well, as a        01:38:56

21      nonspecialist, as I said, a nonspecialist has no

22      sense of art.      Most cultures don't have a concept

23      of art.      You already have to know a great deal of

24      contextual information, contextual clues, to

25      understand a painting is art.           It's not a category   01:39:13

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 31 of 51



                                                                     Page 132

1                                 Gopnik

2       that exists in most cultures.

3                    In this particular subgroup, you have

4       to have knowledge of the history of business art,

5       for instance.    You'd have to have knowledge of                 01:39:22

6       other examples of business art.            You would need to

7       understand those cues in order to understand what

8       you're confronting.

9             Q.     Were you aware that Elon Musk has a

10      business that sells flame throwers?                              01:39:56

11            A.     I'm not sure.      I think I vaguely heard

12      of that, but I'm just not sure.

13            Q.     Is that business activity business art?

14            A.     I imagine it probably isn't, because --

15      but I haven't studied it enough to be sure.             It       01:40:15

16      could be he has a freelance activity as a business

17      artist on top of his activity as a businessperson.

18            Q.     What additional information would you

19      need to determine if Elon Musk is engaging in

20      freelance activity as a business artist?                         01:40:36

21            A.     I'd have to see how it is being

22      perceived in the culture, the kind of social and

23      cultural context it was being presented in,

24      whether it seemed -- his statements might be

25      relevant or might not be relevant.             He could lie,     01:40:51

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 32 of 51



                                                                 Page 160

1                                  Gopnik

2             A.       I am obviously speaking widely

3       metaphorically here, and in writing this I'm sure

4       I didn't think through it in great detail.           I was

5       trying to conjure an image.                                   02:29:23

6                      But I assume that a certain kind of

7       traditional Catholic once upon a time would have

8       distinguished between Crowns of Thorns that were

9       on Jesus's head at some point versus one that had

10      been made later.       But since I'm not at all               02:29:39

11      convinced there was a Crown of Thorns on Jesus's

12      head, it's an obviously very figurative way of

13      speaking.

14            Q.       And in the example you gave, the one

15      that was made later was the counterfeit?                      02:29:58

16            A.       Yes, correct.

17            Q.       I'd like to --

18            A.       I want to clarify, I was speaking

19      metaphorically.

20            Q.       Okay.                                          02:30:16

21                     I'd like to show you a document that

22      has been previously marked as Exhibit 6.

23                     MR. SPRIGMAN:     I want one of these.

24                     THE WITNESS:     Yeah, I think they're

25            great.                                                  02:31:01

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 33 of 51



                                                                 Page 161

1                                 Gopnik

2                    (Pause.)

3             Q.     Have you seen this document before

4       today?

5             A.     I've not, no.                                    02:31:18

6             Q.     Have you seen the shirt depicted in

7       the -- the large shirt depicted on the first page

8       of this document before today?

9             A.     I don't believe I ever have, no.

10                   When you say "large," is that a                  02:31:37

11      normal -- is not a normal shirt?

12            Q.     Because there was a small blue shirt in

13      the bottom corner, I was referring to the large

14      white red shirt in the center of the page.

15            A.     Got it.                                          02:31:59

16            Q.     Are you aware that Mason Rothschild

17      sold a line of classic collegiate apparel inspired

18      T-shirts for art and fashion students?

19                   MR. SPRIGMAN:      Objection.

20            A.     I'm not aware of that.                           02:32:11

21            Q.     I'd like you to assume in this question

22      that the Parsons T-shirt shown in this document

23      was created and sold by Mason Rothschild.           Is this

24      T-shirt art?

25                   MR. SPRIGMAN:      Objection.                    02:32:57

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 34 of 51



                                                                 Page 162

1                                 Gopnik

2             A.     As with anything else, I really would

3       normally like to study it in greater detail.           But

4       my guess is that within the larger context of

5       Mason Rothschild, knowing about his MetaBirkins               02:33:08

6       project especially, this would very much seem to

7       indicate -- because he's touching on Central Saint

8       Martins Parsons, this would seem to set it within

9       an art world context.      It seems to be an

10      intervention in art world discourse.                          02:33:25

11            Q.     Are you familiar with the Parsons

12      School of Design?

13            A.     I am.

14            Q.     Are you familiar with the logo -- let

15      me ask you, what is the Parsons School of Design?             02:33:48

16            A.     Parsons School of Design is part of the

17      New School in New York.       It's their design

18      component.    It's a venerable design school.

19            Q.     Are you familiar with the logo of the

20      Parsons School of Design?                                     02:34:05

21                   MR. SPRIGMAN:      Objection.

22            A.     I'm not.

23            Q.     I'm going to show you what we've marked

24      as Exhibit 194.

25                   (Exhibit 194, printout from Wayback              02:34:21

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 35 of 51



                                                                    Page 202

1                                 Gopnik

2       those other works.      In particular their pop art

3       qualities make you think immediately of Warhol and

4       his legacy.

5             Q.       Is the fact that MetaBirkins were                 03:30:58

6       traded and what that trading means part of their

7       status as business art?

8                      MR. SPRIGMAN:    Objection.

9             A.       Yes, I would say they are.           The one --

10      one -- not the only one but one component in                     03:31:13

11      business art is the way in which it actually

12      participates in the financial world, just like the

13      investors, the artists who invest in money as a

14      form of art as an artistic medium in the late

15      1960s.      That can be one component in business art.           03:31:27

16            Q.       How is trading NFTs as a form of art

17      different from trading NFTs as a commercial

18      activity?

19                     MR. SPRIGMAN:    Objection.

20            A.       The actual trading -- it's -- let me              03:31:46

21      think if I can say this clearly to you.

22                     The act of trading you could say is the

23      art supply.      So there are going to be people, for

24      instance, who might use oil paints to paint a wall

25      and they're not using it to make art.               Other        03:32:02

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 36 of 51



                                                                 Page 203

1                                 Gopnik

2       people use oil paints to paint important,

3       interesting, philosophically complex objects.

4                    Similarly, the act of trading NFTs

5       might be used as an art supply in business art.               03:32:13

6       But as with many, many aspects of business art

7       especially, there are also practices that have

8       nothing to do with the art world.

9                    Obviously not every single transaction

10      on Wall Street is in fact participating in                    03:32:24

11      business art, but some can be used as a medium, an

12      art supply for business art.

13             Q.    How can I tell whether the selling of

14      an NFT is a commercial transaction or business

15      art?                                                          03:32:43

16             A.    You'd have to look at the larger

17      context.    For instance, you might choose to read

18      my report for this case and decide if it seems

19      credibly to participate in this larger discourse.

20                   You might look at the way in which NFTs          03:32:56

21      have been discussed, in fact, as art, which is

22      quite important.     Because NFTs have sometimes

23      mistakenly discussed as art, the issue of art

24      automatically arises.

25                   That's not true of looking at football           03:33:07

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 37 of 51



                                                                 Page 204

1                                 Gopnik

2       games.      No one is talking about whether or not

3       football games is art.         No one is having lawsuits

4       about whether football games are art or not.           That

5       is happening with NFTs.         Therefore the issue of        03:33:18

6       art arises automatically.

7             Q.       Why can't playing a football game be

8       business art?

9                      MR. SPRIGMAN:     Objection.

10            A.       I didn't say it couldn't be.                   03:33:35

11                     The art world tends to have a limited

12      interest in football, however.

13            Q.       What?

14            A.       I said the art world has a limited

15      interest in football.                                         03:34:04

16            Q.       Fair enough.

17                     I show you what was --

18                     MR. SPRIGMAN:     Jerry, we've been going

19            about an hour and how long? -- five minutes?

20                     THE VIDEOGRAPHER:      13 minutes.             03:34:22

21                     MR. SPRIGMAN:     An hour and 13 minutes.

22            Is now a good time for a break?

23                     MR. FERGUSON:     Sure.

24                     MR. SPRIGMAN:     Let's take ten minutes.

25                     THE VIDEOGRAPHER:      We're going off the     03:34:30

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 38 of 51



                                                                      Page 205

1                                  Gopnik

2              record at 3:35 p.m.

3                    (Recess taken from 3:35 to 3:48.)

4                    THE VIDEOGRAPHER:         We're back on the

5              record at 3:48 p.m.                                         03:47:52

6              Q.    Just one question I meant to ask you

7       earlier:    Have you ever purchased an NFT?

8              A.    No.

9              Q.    Ever made steps towards purchasing an

10      NFT?                                                               03:48:15

11             A.    No.     I should say that it would be

12      vaguely unethical for me to do so.              I don't

13      purchase art in general.         It's not considered, at

14      least in my world of art critics, correct to

15      purchase something upon which you're going to be                   03:48:28

16      then giving your opinion and writing, et cetera.

17      That's not something I do.          I know certain people

18      do purchase things about which they're going to

19      give expert opinions, but I don't do that.

20             Q.    Okay.     I'm showing you -- this was                 03:48:40

21      actually previously marked as Exhibit 57.                 It was

22      a document produced by Mason Rothschild, 008859,

23      Bates number.

24                   (Pause.)

25             Q.    Have you seen this before?                            03:49:38

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 39 of 51



                                                                    Page 207

1                                 Gopnik

2             Q.     And that this NFT is called

3       MetaBirkins.

4                    Do you have an opinion whether based on

5       those facts this NFT is a work of art?                          03:51:23

6                    MR. SPRIGMAN:      Objection.

7             A.     I can never have an opinion about

8       whether something is a work of art based on such a

9       limited set of facts.      It does seem to interact

10      with the other things that -- other Birkins I've                03:51:37

11      seen which in larger context do seem to be works

12      of art.

13            Q.     What else would you need to know about

14      this -- what's depicted in this exhibit in order

15      to determine whether it's a work of art?                        03:51:59

16            A.     Well, among other things what I want to

17      do -- I guess I could do it right here.             It seems

18      to be one of the other MetaBirkins covered with a

19      sheet, which would actually indicate to me more

20      rather than less that it's participating in a                   03:52:15

21      larger artistic project.

22                   It seems to be riffing on other items

23      from the MetaBirkins repertoire.            And the pedestal

24      with a draped object on top of it very much refers

25      to statuary in the history of art.             The act of       03:52:34

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 40 of 51



                                                                 Page 208

1                                   Gopnik

2       unveiling a statue is something that exists in the

3       history of art.        So it seems very much to be part

4       of that discourse.

5                        So, yes, the answer is I would say yes,       03:52:47

6       it does seem to be understood in an artistic

7       context.

8               Q.       You talked earlier about how the

9       digital files associated with NFTs can change.

10              A.       Yes, that's correct, can be changed.      I   03:53:16

11      don't think they usually change spontaneously.

12              Q.       Do you have any understanding as if at

13      any point since the MetaBirkin NFTs were first

14      offered for sale if the image associated with

15      MetaBirkins NFTs have changed?                                 03:53:40

16                       MR. SPRIGMAN:    Objection.

17              A.       There would be no way for me to know

18      that.        I would have to see the same digital file

19      at two periods of time and then do a forensic

20      analysis of whether a change had been made.                    03:54:00

21      That's not part of my expertise.

22              Q.       I'm going to represent to you when the

23      MetaBirkin NFTs produced by Mason Rothschild were

24      first offered for sale that the images associated

25      with the NFTs looked like the image in Exhibit 57,             03:54:20

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 41 of 51



                                                                        Page 209

1                                  Gopnik

2       and then they subsequently changed to look like

3       the image in Exhibit 206.

4             A.     Sorry, 206.     206.     Looking like one or

5       another of these?                                                   03:54:39

6             Q.     Yeah.

7             A.     I don't -- I'm not sure that your

8       question is coherent or your claim is coherent.

9       Are you saying that the same digital file was

10      altered, that one NFT pointed to -- I'm just                        03:54:51

11      wondering -- this is just for information, is that

12      what you're claiming or saying?

13            Q.     What I'm saying to you is that the

14      digital file changed.

15            A.     Associated with a given NFT?                           03:55:03

16            Q.     Yes.

17            A.     And someone's made that determination?

18            Q.     Yes.

19            A.     Fine.   I'll believe you.              I have no

20      evidence to that effect or not.            But if you're            03:55:13

21      going to assert that, that's fine.

22            Q.     So my question is at the time the

23      MetaBirkins NFTs looked like -- were associated

24      with images that looked like Exhibit 57 --

25            A.     Can I just clarify, I'm sorry --                       03:55:31

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 42 of 51



                                                                 Page 210

1                                 Gopnik

2               Q.   Yeah.

3               A.   -- that each of -- that there were a

4       set of NFTs that had digital images associated

5       with them, all of which looked more or less like              03:55:41

6       this?

7               Q.   All of them looked like Exhibit 57,

8       that's correct.

9               A.   The then the image to which attached

10      was changed in all cases?                                     03:55:51

11              Q.   Yes.

12              A.   Okay.

13              Q.   At the time the image associated with

14      the MetaBirkins NFTs looked like Exhibit 57, was

15      the name MetaBirkins an artistic comment on the               03:56:02

16      images?

17                   MR. SPRIGMAN:      Objection.

18              A.   Yes, because the artwork did not

19      consist in the images at one point in time, just

20      as at the beginning of a movie the name might not             03:56:22

21      be relevant to what's happening at the beginning

22      of the movie, but by the end of it is.

23                   I would say MetaBirkins is a project

24      that endured over time, and the title is a

25      reference to what it meant over time, not just at             03:56:35

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 43 of 51



                                                                      Page 211

1                                 Gopnik

2       that one moment.

3             Q.     You describe the MetaBirkin projects as

4       analogous to a movie.

5                    (Pause.)                                              03:56:58

6             Q.     If there are further changes in the

7       images associated with MetaBirkin NFTs, could that

8       impact your view as to whether the MetaBirkin

9       project is business art?

10                   MR. SPRIGMAN:      I'm going to object to             03:57:26

11            the foundation of any of this.

12            A.     It's largely irrelevant.               The specific

13      changes to the images don't have an effect

14      necessarily on whether it's business art or not.

15      Those are, as it were, aesthetic issues which                      03:57:39

16      might or might not but probably wouldn't affect

17      their status or, for that matter, their function

18      as business art.

19            Q.     Are you saying that aesthetic issues

20      are not relevant to a determination of whether                     03:57:53

21      something is business art?

22                   MR. SPRIGMAN:      Objection.

23            A.     In many cases not directly relevant to

24      whether it's business art.         They might play a role

25      in the way it functions as business art, but they                  03:58:05

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 44 of 51



                                                                    Page 235

1                                   Gopnik

2       try to complicated or -- what's the right word? --

3       make his financial situation more interesting.

4                     So various different activities he has

5       are held by various firms, some of which I believe               04:26:46

6       can go bankrupt without necessarily affecting his

7       own finances.     So he's -- his practice, especially

8       his business art practice, is disseminated among

9       lots of different firms.

10                    I believe Science is in charge of                  04:27:00

11      selling different Damien Hirst projects, as part

12      of his business art, among other things.

13            Q.      And for any of his firms, does Damien

14      Hirst adopt the trademark of other companies?

15                    MR. SPRIGMAN:        Objection.                    04:27:15

16            A.      His firms.     No.     He may have works --

17      he does have works of art that reference other

18      people's trademarks.        But, no, his firms do not.

19      I should say I believe he has works of art that

20      reference other trademarks.                                      04:27:33

21                    MR. SPRIGMAN:        So it's 4:27.      How long

22            have we've been on the record all together?

23                    MR. FERGUSON:        If you want to take a

24            break now, I think I'm pretty close to being

25            done.                                                      04:27:58

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 45 of 51



                                                                  Page 236

1                                 Gopnik

2                      MR. SPRIGMAN:    Yeah, I want to get the

3             answer first, and then let's figure out what

4             to do.

5                      THE VIDEOGRAPHER:      5 hours and 40          04:28:03

6             minutes.

7                      MR. SPRIGMAN:    Okay.      How much longer

8             do you think you have, Jerry, just out of

9             approximate?

10                     MR. FERGUSON:    I mean, I think if we         04:28:11

11            could take a break I could organize my notes.

12            I think I would have about ten minutes when I

13            got back.

14                     MR. SPRIGMAN:    Let's do it.

15                     MR. FERGUSON:    Okay.                         04:28:20

16                     MR. SPRIGMAN:    Cool.

17                     THE VIDEOGRAPHER:      We're going off the

18            record at 4:29 p.m.

19                     (Recess taken from 4:29 to 4:42.)

20                     THE VIDEOGRAPHER:      We're back on the       04:41:24

21            record at 4:42 p.m.

22            Q.       Is adopting the trademark of another

23      company business art?

24                     MR. SPRIGMAN:    Objection.

25            A.       It might or might not be.                      04:41:57

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 46 of 51



                                                                 Page 237

1                                 Gopnik

2             Q.     In what circumstances is adopting the

3       trademark of another company business art?

4                    MR. SPRIGMAN:      Objection.

5             A.     I would say that it would almost always          04:42:10

6       be a component in business art if business art is

7       at stake, that is, any artist who seemed to be

8       engaged in a business art project might or might

9       even -- I might say should adopt a trademark of

10      another company because it makes clear the stakes             04:42:26

11      involved, that he's edge gauging directly -- he or

12      she, I should say, is engaging directly with the

13      world of commerce.     It would be a good sign of

14      what's going on.

15                   And it would also -- frankly one                 04:42:38

16      purpose of business art in general is critical or

17      satirical, and it would piss off the people that

18      he's talking to and then they would probably do

19      things like sue him and increase the cultural

20      importance of the business art by virtue of the               04:42:51

21      attention paid to it, the mess it's caused, the

22      fuss it's caused.

23            Q.     Is taking actions that cause you to be

24      sued business art?

25                   MR. SPRIGMAN:      Objection.                    04:43:04

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 47 of 51



                                                                    Page 238

1                                 Gopnik

2             A.     They might or might not be, but they

3       might be a very useful and interesting component

4       in business art.

5             Q.     Did Andy Warhol adopt the trademark of             04:43:20

6       another company?

7                    MR. SPRIGMAN:      Objection.

8             A.     He certainly used the trademark of

9       another companies, and sometimes those other

10      companies were uncomfortable with that.             Sometimes   04:43:31

11      they were flattered by it.         And the same company

12      at one moment be flattered and another moment be

13      uncomfortable.

14            Q.     Did he ever adopt the trademark of

15      another company?                                                04:43:45

16                   MR. SPRIGMAN:      Objection, vague.

17            A.     I don't know what that means, adopting.

18      Did he literally try to trademark another

19      company's extant trademark?          No.    But his works

20      certainly were presented as though he was using                 04:43:53

21      that trademark.

22                   And they did cause confusion, useful,

23      powerful confusion, that was part of the reception

24      in the art critical world.         That's one reason they

25      matter is because they confuse the difference                   04:44:08

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 48 of 51



                                                                    Page 239

1                                 Gopnik

2       between art and nonart.

3              Q.      Is creating confusion regarding whether

4       a trademark owner has authorized goods business

5       art?                                                            04:44:32

6                      MR. SPRIGMAN:    Objection.

7              A.      I'd have to see a particular instance

8       of it.      It might very well be.

9              Q.      In --

10             A.      A component in business art.         Nothing     04:44:48

11      freestanding is or is not business art.             You'd

12      have to look at a larger set of art supplies that

13      go into a project to decide the extent to which

14      any one of them is necessary or interesting or

15      useful in determining creating that work of                     04:45:02

16      business art.

17             Q.      Did you review the plaintiff's

18      complaint as part of the documents you reviewed in

19      preparing for your report?

20             A.      I did.                                           04:45:15

21             Q.      Did you see the allegations that Elle

22      magazine and the New York Post and other

23      publications printed stories saying that

24      MetaBirkins were offered by Hermès?

25             A.      I don't remember your complaint in               04:45:30

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 49 of 51



                                                                 Page 244

1                                 Gopnik

2                     There's usually -- it takes a bunch of

3       different people to finally come up with something

4       out there.     I assume there's a technician to mount

5       just in charge of literally mounting them on                  04:50:58

6       whatever server they're living on.

7             Q.      In your report you reference that you

8       had seen a number of documents that were -- that

9       have Rothschild Bates stamps.           That all appears on

10      page 3 of your report.                                        04:51:13

11            A.      Yes.

12            Q.      A number of those documents you

13      reference -- in fact, I believe most if not all of

14      them -- involve communications with Mr. Rothschild

15      and Mark Design?                                              04:51:22

16            A.      Yes, that's right.

17            Q.      And do you have an understanding of the

18      role of Mark Design in creating the MetaBirkin

19      images associated with MetaBirkin NFTs?

20                    MR. SPRIGMAN:     Objection.                    04:51:34

21            A.      Yes, his role in the production of

22      them, I'd say.

23            Q.      And what was his role in production?

24            A.      Well, I'd have to look at them in

25      detail.     He seemed to play several different               04:51:41

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 50 of 51



                                                                  Page 245

1                                 Gopnik

2       roles.      He was in a rich, collaborative

3       relationship.      He was functioning as a high-level

4       studio assistant.      That's what studio assistants

5       do.                                                             04:51:53

6              Q.      Is business art recognized as a genre

7       in the field of art criticism?

8                      MR. SPRIGMAN:     Objection.

9              A.      Yes, it goes by various different

10      names.      Most genres do.     It's also called commerce       04:52:49

11      by artist.      Some people might call it a branch of

12      relational aesthetics.         But it's well recognized

13      as a movement or component in the history of

14      contemporary art.      There have been exhibitions

15      about it; there are books about it.                             04:53:04

16             Q.      Is commerce by artists the same thing

17      as business art?

18             A.      There is no specific definition of

19      business art or of commerce by artists.             There are

20      elaborate -- you know, there are a set of, as it                04:53:15

21      were, Venn diagrams.

22                     Different people might have slightly

23      different ways.      That's true of minimalism, pop

24      art.     Name any kind of art you could name, and

25      there would be different ways of thinking about it              04:53:27

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       Case 1:22-cv-00384-JSR Document 122-2 Filed 01/23/23 Page 51 of 51



                                                                     Page 246

1                                 Gopnik

2       and cases that would or would not be included by

3       different critics and historians.

4                      These names are all heuristics.

5              Q.      What?                                             04:53:46

6              A.      These names are all heuristics, as a

7       way of coming to grips with varied practices.

8       They have something in common.

9              Q.      Do art schools teach a course called

10      business art?                                                    04:54:10

11                     MR. SPRIGMAN:    Objection.

12             A.      That's a good question.         They should.

13      I don't know if any of them do.            They might.   I

14      don't know the curriculum of all art schools.                I

15      would hope that someone does.                                    04:54:20

16             Q.      Are you aware of any art school that

17      teach a course called business art?

18             A.      I'm not aware of the curriculum of art

19      schools, so I'm not aware of one.             But that

20      wouldn't surprise me.      I also don't -- I really              04:54:32

21      don't know what art schools teach and what they

22      don't.      I've never taught in an art school.

23                     I would say that they almost certainly

24      do teach as part of the curriculum for conceptual

25      art.     It would be inconceivable that a course in              04:54:45

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